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                     EXHIBIT E
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   INRE:
   INVESTIGATION OF
   JEFFREY EPSTEIN
   ---- ---- ---' '
                           NQN-PRQSECtmQN AQBEIMIW:
          IT APPEARING that the City of Palm Beach Police Department and the State
   Attomoy's Offlce for the lSth Judicial Circuit in and for Palm Beach Cowity (hereinafter,
   the "State Attorney's Office") have conducted an investigation into the conduct of Jeffrey
   Epstein (hereinafter "Epstein");

          IT APPEARING that the State Attornoy's Office has charged Epstein by indictment
   with solicitation of prostitution, in violation of Florida Statutes Section 796.07;

          IT APPEARING that the Unitl,d States Attorney's Office and the Federal Bureau of
   Investigation have concluded their own investigation into Epstein's background and any
   offtme1 that may have been committed by Epstein against the United States from in or
   around 200 J through in or around September 2007, including:

         ( J)   knowingly and willfully conspirina with othen known and unknown to
                commit an offimsc against the United States, that is, to use a facility or means
                of interstate or foreign commerce to knowingly persuade, induce, or onticc .
                minor femalea to engage in proatitution, in violation ofTitle 18, United States
                Code, Section 2422(b); ,u in violation ofTitle 18, United States Code, Section
                371;

         (2)    knowingly and willfWly conspiring with others known and unknown to travel
                in interstate commerce for the purpose of cngaaing in illicit 1eXual condua, as
                defined in 18 U.S.C. §·2423(f), with minor females, in violation ofTitlo 18,
                United States Code, Section 2423(b); all in violation ofTitlo 11, United States
                Code, Section 2423(e);

         (3)    using II facility or moan1 of interstate or foreign commerce to knowingly
                persuade, induc:e, or entice minor females to engage in prostitution; in
                violation of Title J8, United States Code, Sections 2422(b) and 2;

         (4)    traveling in interstate commerce for the pmposc of engaging in illicit sexual
                conduct, as defined in I8 U.S.C. § 2423(!). with minor females; in violation
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                  of Title 18, United States Code, Section 2423(b); and

           (5)    knowingly, in and affecting interstate and foreign commerce. recruiting.
                  enticing. and obtaining by any means a person, knowing that tho person had
                  not attained lhc age of 18 years and would be caused to cngaee in a
                  commercial sex cict as defined in J8 U.S.C. § IS9l(cX1); in violation ofTitJe
                  18, United Sta&cs Codo, Sections 1591(aX1) and 2; and

           IT APPEARING that Epstein seeks to resolve globally his state and federal criminal
   liability and Epstein undentands and acknowledges that, in exchan&e for the benefits
   provided by this agreement, he agrees to comply with its terms, including undertaking certain
   actions with the State Attorney•• Office;

          IT APPEARING. aftor an investigation of the oft'emes and Epstein's background by
   both State and Federal law enforcement agencies, and after due comultation with the State
   Attorney's Office; that the interests of the United States. the State of Florida, and tho
   Defendant will be served by the following proccdurc;

          THEREFORF., on the authority of R. Alexander Acosta, United States Attorney for
   the Southern District of Florida, prosecution ln this District for these offenses shaJI
                                                                                             be
   deferred in favor of prosecution by the State ofFlorida, provided that Epstoin abides by the
   foJlowing conditions and the rcquiremems of this Agreement set forth below,

          If the United States Attorney should determine. based on reliable evidence, that,
   during the period of the Agreement, Epcstoin willfully violated any of the condition., of this
                                                                                                  •
   A11ecment. then the United States Attorney may. within ninety (90) days following the
   oxpiratlon of the tenn of home confinement    disamed   below,   provide Epstein with  timely
   notice specifying the condition(s) ofthe Agreement that be bu violated, and shall initiate its
   prosecution on any offense within sixty (60) days' of giving notice of the violation. Any
   notice provided to Epstein pursuant to this paragraph shall be provided within 60 days of the
   United States )earning of facts which may provide a basis for a determination of a breach of
   the·Agrc,erneril

            After timely fultiJJing aU the terms and conditions of the Agn::cmcnt, no prosecution
    for the offcnscs set out on pages 1 and 2 of this Agreement, nor any other offenses that have
    beali the subject of the joint investigation by the Federal Bureau of Invostiption and the
    United States Attomcy•s Office, nor any offenses that arose from the Federal Grand Jury
    investigation will be instituted in this District, and the charges against Epstein if any. will be
    dismissed.


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       Terms of the Agreement
             1.    Epstein shall plead guilty (not nolo contendcre) to the Indictment u
                   currently pending against him in the 15th Judicial Circuit in and for
                   Palm Beach County (Case No. 2006-cf-009495AXXXMB) charging
                   one (I) count of solicitation of prostitution. in violation of Fl. Stat §
                   796.07. In addition, Epstein shall plead auilty to an Information flied
                   by the State Attorney•• Office charging Epatcin with an offense that
                   requires him to register as a sex otfonder, that is, the solicitation of
                   minon to engage in proatitution, in violation ofFlorida Statutes Section
                   796.03;

             2.    Epstein shall make a binding recommendation that the Court impose a
                   thirty (30) month sentence to be dividc,d u foUows:

                   (a)    Epstein :1ball be sentcnccd to consecutive term, of twelve (12)
                          months and six (6) months in COWlty jail for all cla-gcr, without
                          any opportunity for withholding adjudication or sentencin&, and
                          without pobation or community control in lieu of
                          impriaonment; and

                   (b)    Epstein shall be sentenced to a term of twelve (12) month., of
                          community control consecutive to his two terms in county jail
                          u described in Term 2(a), supra.

             3.    This agreement is contingent upon a Judge of the 15th Judicial Circuit
                   acceptin& and executing the senleliee agreed upon between the State
                   Attorney's Office and Epstein, the details of which arc set forth in this
                   agreement
             4.    Tho terms contained in paragraphs l and 2, IU/N'tl, do not foreclose
                   Epstein and the State Attorney's Office from agreeing to recommend
                   any additional cbarge(s) or any additional tenn(s) of probation and/or
                   incarceration.
             5.    Epstein shall waive alJ challenges to the lnfonnation filed by the State
                   Attorney's Office and shall waive the right to appeal his conviction and
                   sentence, except a acntencc that exceeds what is set forth in paragraph
                   (2),supra.

             6.    Epstein shaJJ provide to the U.S. Attorney's Office copies ofall

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                  proposed agreements with the State Attomc,y's Office prior to entering
                  into those agreements.

            7.    The United States shall provide Epstein's attorneys with a list of
                  individuals whom it has identified as victims, as defined in 18 U.S.C.
                  § 2255, after Epstein has signed this agreement and beoo sentenced.
                  Upon tho execution ofthis aareement. the United States. in consultation
                  with and subject to the good faith approval of Epstein's counsel, shall
                  select an attorney representative for those persons, who shall be paid for
                  by Epstein. Epstein's counsel may contact the identified individuals
                  through that representative.

            8.    If any of the individuals referred to in.paragraph (7), supra, cl.equ te>
                  tile suit pursuant to 18 U.S.C. § 2255. Epstein will not contest 'ihe
                  jwi•~onof the United.State, Diaaict Court for the Soutbeml)iitrict
                  ofFl<>ri~ov«-hia person and/or the subject matter, and Epateinwalv•
                  his right to contest liability and al10 waives hii right to contestdamagea
                  up to an amount as agreed to between the ldentifled individual and
                  Epstoin, so Jong as the identified individual elects to proceed
                  exclusively under 18 U.S.C. § 22SS, and agrees to waive any other
                  claim for damages, whether pursuant to state, federal, or common law.
                  Notwithslanding this waiver, u to those individuals ·whose names
                  appear on the list provided by the United States, Epstein's signature on
                  this agreement, his waivers and failum to contest liability and such
                  ~ c s in. any '1,dt are not to be construed as an adrn~iou of 1111)'
                  ciiiiji,nal or civil liability.

            9.    Epstein's signature on this agreement also Is not to be construed as an
                  admission of civil or criminal liability or a waiver of any jurisdictional
                  or other defense II to any person who,e name does not appear on the
                  list provided by the United States.

            JO.   Ex.ccptas to those individuals who eJcct to proceed exclusively under
                  l SU.S.C. § 2255, as set forth in paragrapl:t (3), .rupra, neither Epstein's
                  signatllR on this agreement, nor its terms, nor any rcsultin& waivers or
                  settlements by Epstein are to be construed as admissions or evidence of
                  civil or criminal liability or a waiver of any jurisdictional or other
                  defense as to 811)' person, whether or not her name appears on the list
                  provided by the United States.

            11.   Epstein shall use his best efforts to enter his guilty plea and be

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                           sentenced not later than October 26, 2007. The United States has
                                                                                              no
                           objection to Epstein self-reporting to begin serving his sentence not
                           later than January 4, 2008.

                   l 2.    Epstein agrees that he will not be afforded any benefits with respect to
                           gain time, other than the rights. opportunities, and benefits as any other
                           inmate, includina but not limited to, eli&ibility for aain time credit  of
                           based on standard rules and regulations that apply in the State
                           Florida . At  the United  States'  request, Epstein apees   to provide  an
                           accounting of the gain time he earned during his period of
                           incarceration.

                   13.     The parties anticipate that this agreement will not be made part of any
                           public record. If the United States recotves a Preedom of Information
                           Act n,quest or any compulsory process commanding the discJosin of
                           the agreement, it will provide notice to Epstein before making that
                           disclosure.
                                                                                                require the
            Epstein understands that the United States Attorney has no authority to
                                                      of this agreem   ent    Epstein    undcrs   iandl tbal
   State Attorney's Office to abide by any terms                                             and  to use hi,
                                   ke discuss ions with  the State  Attorn   ey's   Office
   it ia hia obligation to underta                                                       will     necessa  ry
   best efforts to ensure compliance with these procedures, which       compli    ance         be
                                                    also  underst ands   that it is  his obligat  ion  to uso
   to satisfy the United States' interest P.pstein
                                                                                        Epstein's binding
   his best efforts to convince the Judge of the 15th Judicial Circuit to accept
                              ng the  scrntencc to be impose  d, and  underst    ands   that the failure to
   recommendation regardi
   do so will be a breach of the agreement.
                                                                                                       sation
            In consideration ofEpstciD's agrcemont to plead guilty and to provide compen
                                                                                            and  corxfiti ons
   in the manner described above, ifEpstein successfuJly fulfills all oftbc terms        crimina   l charge  ,
                                                                                  e any
   of this agreement, the United States also agrees that it will not    institut
                                                       . inclucting  but  not  limited    to  Sarah  Kellen.
   against any potential co-conspirators of Epstein
   Adriana Ross, Lesley Oro~ or Nadia MarcinkoviL Further,
                                                                               upon execution of this
                                                                                      federal Grand Jury
   agreement and a plea agreement with the State Attorney's Office, the
                                                                          Jury   subpoe    nas will be held
    investigation will be suspended, and all pending federal Grand                                ent. The
    in abeyance unless and \Ultil the defendant       violates  any   term    of  this   agreem
                                to withdra  w his pending  motion   to interve   ne  and   to quuh    certain
    defendant likewise agrees                                                                               e
                                                                                e,  spe<:ifl cally evidenc
    grand jury subpoenas. Both parties agree to maintain their evidenc                                    and
                                                                     nas   that  have    been   issued,
    requested by or directly related to the grand jwy subpoe
                                                                                  of this agreement have
    including certain computer equipment, inviolate until all of the terms
    been satisfied. Upon the       success  ful comple  tion  of  the  terms    of   this agreement, all
    outstanding grand jury subpoena., shall be deemed withdra        wn.

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           By signing this agRC111ent, Epstein asserts and certifies that each of these terms is
    material to this agreement and is supported by independent comideration and that a breach
    of any one of these conditions allows the United States to elect to terminate the agreement
    and to investigate and prosecute Epstein and any other individual or entity for any and all
    federal offenses.
           By signing this agreement, Epstein asserts and certifies that he is aware ofthe fact that
    the Sixth Amendment to the Constitution of the United States provides that in all criminal
    prosecutions the accused shall enjoy the right to a speedy and public trial. Epstein further
    is aware that Rule 48(b) of the Federal Rules of Criminal Proecdure provides that the Court
    may dismiss an indictment, infonnation, or complaint for unnecessary delay in presenting
    a charge to the Grand Jury, tiling an infonnatio11t or in bringing a defendant to trial. Epstein
    hereby requests that the United State& Attorney for the Southern District ofFloridadofer such
    prosecution. Epstein agrees and consents that any delay from tho date of thil Agreement to
    the daM of initiation of pro,ecution, as provided for in the terms expressed heniD, shall be
    deemed to be a necessary delay at his own request, and be hereby waives any defense to such
    prosecution on the ground that such delay operated to deny him rights under Rule 48(b) of
    the Federal Rules of Criminal Procedure and the Sixth Amendment to the Constitution ofthe
    United States to a speedy trial or to bar the prosecution by reason of the running of the statute
    of limitations for a period of months equal to the period between the signing of this
    agreement and the breach of this agreement u to those offenses that were the subject of the
    grand jury'1 investigation. Epstein further userts and certifies that ho understands that the
    Fifth Amendment and Rule 7(a) of the Federal Rules of Criminal Procedure provide that all
    felonies must be charged in an indictment presented to a grand jury. Epstein hereby agrees
    and consents that, if a prosecution against him is instituted for any offense that wu the
    subjcci ofthe, grand jwy 's investigation, it may be by way ofan Information signed and filed
    by the United States Attorney, and hereby waives his right to be indicted by a grand jury u
    to any such offense.

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          By signing this agreement, Bpstein asser1s and certifies that the above has been read
    BDd explained 1o mm. Bpsteinhmeby states that he 1mderstands tho conditions of this Non-
    Prosecutioa Apcmen t and agree, to comply with them.

                                                     R. ALEXANDER ACOSTA
                                                     tJNITBD STATES AITORNBY

    Dated: _ _ __                             By:
                                                     A. MARIB VILLAPAAA
                                                     ASSISTANT U.S. A'ITORNEY




    Dated: _ _ __
                                                     OERAID LEFCOURT, ESQ.
                                                     COUNSEL TO JEFFREY EPSTEIN


    Dated: _ _ __
                                                     LILLY ANN SANCHEZ, BSQ.
                                                     A'ITORNBY POR JBFFRBY EPSTEIN




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          By signing this aarecment, Epstein asserts and certifies that the above has been read
    and explaiMd to him. Epstein hereby states that he understands the condition1 of this Non-
    Prosecution Agreement and agrees to comply with them.
                                                     R. ALEXANDER ACOSTA
                                                     UNITED STATES AITORNEY


    Datod: _ _ __                             By:
                                                     A. MARIE VILLAFARA
                                                     ASSISTANT U.S. ATTORNEY


    Daeod: _ _ __




    Dated: _ _ __
                                                     Llt,LYANN SANCHEZ, ESQ.
                                                     A'ITORNEY FOR JEFFREY EPSTEIN




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                                                             ies that the above bas beon rad
           By aignmg this agreemm1, F.patein usa11 and certif
                                                          samdl the conditions ofthil Non-
                                                      ho unda
     lild explained to him. Epstein bcn,by ,tatea thai lhcrrn.
     ProMcution Agreemmt and agn      a to comp  ly with
                                                     R. ALEXANDER ACOSTA
                                                     tJNrrBI> STATBS AlTORNB'/


     Dated: _ _ __                             By:
                                                      A. MARlB VILLAFAAA
                                                      ASSISTANT U.S. A1TORNBY


                                                      .JBPFlU3Y BPSTBIN



                                                      GBRALD LEFCOUllT, ESQ.
                                                      COUNSEL TO JBFJ1RBY BPSTBIN---: >
                                                                                   ~--


                                                                           Q.
                                                      ATI'ORNBY POR JEFPRBY EPST13:n.l




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